Case 2:05-cr-20183-SHI\/| Document 23 Filed 07/14/05 Page 1 of 2 Page|D 28

Fll.ED BY ___ D_c,
IN mrs UNITED sTATEs DISTRICT coURT

FOR THE WESTERN DISTRICT OF TENNESSEE OSJUL|h AH'|-QS
WESTERN DIVISION

. } h v ,
css;:j?ii wiger

0 53 H

illl`€|fi _¢‘_,:"H?J

    

UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 05-20183-Ma

VS.

FREDERICK GWYNN,

~__/`_/~_/-.__/-_,z~._,~._/~_/\_/

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for' a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning August l, 2005 at 9:30 a.m., with a
report date of Friday, July 22, 2005 at 2:00 p.m.

The period from June 24, 2005 through August 12, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

’$
IT IS SO ORDERED this l A<` day of July, 2005.

J/€/Mm._

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

lweren ore me docket sheet in :oméwsgr‘ce

“H%s-Joounxsnre‘ *
\ (b)FRCr?on *’ 7

meRmeB§andkn32

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 23 in
case 2:05-CR-20183 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

